
612 So.2d 37 (1993)
James H. THIBAUT, Margaret Thibaut Watson, Mary Elizabeth Thibaut Rives, the Constance Elizabeth Thibaut Trust, the Sally Clarice Thibaut Trust, Alma Louise Thibaut Trust, and the David Thibaut, Jr. Trust
v.
Thomas A. THIBAUT, Michael Smith, III, Eugenia Smith Mueller, Jane Thibaut Boyce, Thibaut, Inc., Thibaut Oil Company, Inc. and Thibaut Oil Company.
No. 93-C-0053.
Supreme Court of Louisiana.
February 11, 1993.
Denied.
DENNIS, J., would grant the writ.
LEMMON, J., not on panel.
